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                                 UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF MAINE


THE MICHAEL PHELPS FOUNDATION,
a non-profit corporation with its principal place of
business in Maine,

       Plaintiff,                                        Civil Action Docket No.
v.                                                       2:10-cv-00346-JAW

ADAM SCHROEDER, an individual,
and DOES 1-9,

       Defendants.



                                        DEFAULT JUDGMENT

            On motion of Plaintiff, The Michael Phelps Foundation, upon notice but without

evidentiary hearing, no such hearing being required and based on the evidence presented by

Plaintiff, the Court enters default judgment against Defendant Adam Schroeder pursuant to Fed.

R. Civ. P. 55. Accordingly, it is ADJUDGED and ORDERED that:

            1.      A default judgment is entered against Defendant that Defendant has committed

and is committing cybersquatting in violation of 15 U.S.C. § 1125(d) and acts of infringement of

an unregistered trademark in violation of 15 U.S.C. § 1125(a);

            2.      The Domain <www.michaelphelpsfoundation.com> is transferred to Plaintiff,

The Michael Phelps Foundation; and

            3.      Plaintiff is awarded costs in an amount to be determined on proper showing by the

Foundation.

Date: October 22, 2010                           /s/ Elizabeth Richardson
                                                 Deputy Clerk



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